                           UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                                  AT WINCHESTER

UNITED STATES OF AMERICA                          )
                                                  )       Case No. 4:12-cr-27
vs.                                               )
                                                  )
WILLIAM SCOTT CUNNINGHAM                          )       MATTICE/CARTER

                              MEMORANDUM AND ORDER

       The defendant appeared for a hearing before the undersigned on August 21, 2012, in
accordance with Rule 46(c) of the Federal Rules of Criminal Procedure and 18 U.S.C. '' 3143
and 3148 on the Petition for Action on Conditions of Pretrial Release. Those present for the
hearing included:

              (1)   AUSA Terra Bay for the USA.
              (2)   The defendant, William Scott Cunningham.
              (3)   Attorney Chris Lanier for defendant.
              (4)   U.S. Probation Officer Doug Corn.
              (5)   Deputy Clerk Kelli Jones.

        After being sworn in due form of law the defendant was informed or reminded of his
privilege against self-incrimination accorded him under the 5th Amendment to the United States
Constitution.

       AUSA Terra Bay called U.S. Probation Officer Doug Corn, who testified that the
defendant violated his conditions of release by testing positive for methamphetamine. Based on
the defendant=s violation, the Court REVOKES his pretrial release supervision and ORDERS
defendant DETAINED without bond.

       SO ORDERED.

       ENTER.

                                           SBj|ÄÄ|tÅ UA `|àv{xÄÄ VtÜàxÜ
                                           UNITED STATES MAGISTRATE JUDGE




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